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                        Exhibit A
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      EMPLOYMENT, CONFIDENTIALITY, PROPRIETARY, INFORMATION AND

                                        INVENTIONS AGREEMENT


              THIS          EMPLOYMENT,                   CONFIDENTIALITY,                 PROPRIETARY
     INFORMATION AND INVENTIONS AGREEMENT (this "Agreement") is
     effective as of this \ Ii ct          day of        cJ b(sVAA km'           , 201 k , by and between
     FUTUREWEI TECHNOLOGIES, INC., a Texas erporation (the "Company"), and
         VIV2PA    H1A-1                   (the "Employee").


                                                    RECITALS:

    WHEREAS, Employee is being offered a position of employment with Company on the
    date hereof and Employee has accepted such position. Upon acceptance of position,
    Employee agrees to provide a true and valid employment permit/certificate to ensure
    compliance with the legal conditions for employment regulated by all federal and state
    laws.

    WHEREAS, Employee acknowledges and the Company agrees that it will provide
    Employee special training and knowledge in connection with Employee's employment
    that are not commonly available elsewhere, including, but not limited to, knowledge
    about the Company's Confidential Information (as defined below).

    WHEREAS, Employee's access to and knowledge of the Confidential Information and
    Employee's receipt of the special training and knowledge will present Employee with the
    opportunity to benefit himself or herself and others wrongly at the expense of the
    Company and its customers if Employee does not abide by the terms of this Agreement.
    If Employee were to compete with the Company, it would be highly unlikely that
    Employee could do so with misappropriating for himself or for any competing employer
    the Confidential Information.

    THEREFORE, in consideration of Employee's employment, the foregoing premises and
    other good and valuable consideration, the receipt and adequacy of which are hereby
    acknowledged, Employee agrees with the Company as follows:

    1.       Recognition of Company's Rights; Nondisclosure.

                   At all times during the term off my employment and thereafter, I will hold
    in strictest confidence and will not disclose, discuss, transmit, use, lecture upon or
    publish any of the Company's Confidential Information, except as such disclosure,
    discussion, transmission, use, or publication may be required and authorized in
    connection with my work for the Company, or unless the President or the Board of


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    Directors of the Company expressly authorizes such in writing. I hereby assign to the
    Company any rights I may have or acquire in such Confidential Information and
    recognize that all Confidential Information shall be the sole property of the Company and
    its assigns and that the Company and its assigns shall be the sole owner of all patent
    rights, copyrights, trade secret rights, and all other rights throughout the world
    (collectively, "Proprietary Rights") in connection therewith.

                   The ten-n "Confidential Information" shall mean trade secrets, confidential
    knowledge, data or any other proprietary information of the Company and any of its
    subsidiaries or affiliated companies, if any. By way of illustration but not limitation,
    "Confidential Information" includes (a) inventions, trade secrets, ideas, processes,
    formulas, data, lists, programs, other works of authorship, know-how, improvements,
    discoveries, developments, designs, and techniques relating to the business or proposed
    business of the Company and that were learned or discovered by me during the term of
    my employment with the Company, (hereinafter, included Confidential Information is
    collectively referred to as "Inventions"); (b) information regarding plans for research,
    development, new products and services, marketing and selling, business plans, budgets
    and unpublished financial statements, licenses, prices and costs, suppliers, customer lists
    and customers that were learned or discovered by me during the term of my employment
    with the Company; and (c) information regarding the identity, contact information, skills
    and compensation of other employees of the Company.

    2.       Third Party Information.

                   I understand, in addition, that the Company may from time to time receive
    from third parties confidential or proprietary information ("Third Party Information")
    subject to a duty on the Company's part to maintain the confidentiality of such
    information and to use it only for certain limited purposes. At all times during the term of
    my employment and thereafter, I will hold Third Party Information in the strictest
    confidence and will not disclose, discuss, transmit, use, lecture upon, or publish any
    Third Party Information, except as such disclosure, discussion, transmission, use, or
    publication may be required and authorized with my work for the Company, or unless the
    President or the Board of Directors of the Company expressly authorizes such in writing.

    3.       Assignment of Inventions.

             (a)     Definition. The term "Subject Ideas or Inventions" includes any and all
    ideas, processes, trademarks, service marks, inventions, designs, technologies, computer
    hardware or software, original . works of authorship, formulas, discoveries, patents,
    copyrights, copyrightable works, products, marketing, and business ideas, and all
    improvements, know-how, date, rights, and claims related to the foregoing that, whether
    or not patentable, are conceived, developed or created which: (1) relate to the Company's
    current or contemplated business or activities; (2) relate to the Company's actual or
    demonstrably anticipated research or developments; (3) result from any work performed
    by me for the Company; (4) involve the use of the Company's equipment, supplies,
    facilities or trade secrets; (5) result from or are suggested by any work done by the



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    Company or at the Company's request, or any projects specifically assigned to me; or (6)
    result from my access to any of the Company's memoranda, notes, records, drawings.
    sketches, models, maps, customer lists, research results, data, formulae, specifications,
    inventions, processes, equipment or other materials (collectively, Company Materials-).

            (b)     Company Ownership. All right, title, and interest in and to all Subject
    Ideas and Inventions, including but not limited to all registrable and patent rights which
    may subsist therein, shall be held and owned solely by the Company, and where
    applicable, all Subject Ideas and Inventions shall be considered works made for hire. I
    shall mark all Subject Ideas and Inventions with the Company's copyright or other
    proprietary notice as directed by the Company and shall take all actions deemed
    necessary by the Company to project the Company's rights therein. In the event that the
    Subject Ideas and Inventions shall be deemed no to constitute works made for hire, or in
    the event that I should otherwise, by operation of law, be deemed to retain any rights
    (whether moral rights or otherwise) to any Subject Ideas and Inventions, I agree to assign
    to the Company, without further consideration, my entire right, title and interest in and to
    each and every such Subject Idea and Invention.

            (c)    Maintenance of Records. I agree to keep and maintain adequate and
    current written records of all Subject Ideas and Inventions and their development made
    by me (solely or jointly with others) during the term of my employment with the
    Company. These records will be in the form of notes, sketches, drawings, and any other
    format that may be specified by the Company. These records will be available to and
    remain the sole property of the Company.

            (d)     Determination of Subject Ideas and Inventions. I further agree that all
    information and records pertaining to any idea, process, service mark, invention,
    technology, computer hardware or software, original work of authorship, design formula,
    discovery, patent, copyright, product, and all improvements, know-how, rights, and
    claims related to the foregoing ("Intellectual Property"), that I do not believe to be a
    Subject Idea or Invention, but that is conceived, developed, or reduced to practice by the
    Company (alone by me or with others) during the period of my employment and for one
    (1) year after the termination of such employment, shall be disclosed promptly by me to
    the Company (such disclosure to be received in confidence). The Company shall
    examine such information to determine if in fact the Intellectual Property is a Subject
    Idea or Invention subject to this Agreement.

             (e)     Access. Because of the difficulty of establishing when any Subject Ideas
    or Inventions are first conceived by me, or whether they result from my access to
    Confidential Information or Company Materials, I agree that any Subject Idea and
    Invention shall, among other circumstances, be deemed to have resulted from my access
    to Company Materials if: (1) it grew out of or result from my work with the Company or
    is related to the business of the Company, and (2) it is made, used, sold, exploited or
    reduced to practice, or an application for patent, trademark, copyright or other proprietary
    protection is filed thereon, by me or with my significant aid, within one (1) year after my
    termination from employment.



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            (f)     Assistance. I further agree to assist the Company in every proper way
    (but at the Company's expense) to obtain and from time to time enforce patents,
    copyrights or other rights or registrations on said Subject Ideas and Inventions in any and
    all countries, and to that end will execute all documents necessary.

                              (1) to apply for, obtain and vest in the name of the Company alone
                      (unless the Company otherwise directs) letters patent, copyrights or other
                      analogous protection in any country throughout the world and when so
                      obtained or vested to renew and restore the same;
                              (2) to defend any opposition proceedings in respect of such
                      applications and any opposition proceedings or petitions or applications
                      for revocation of such letters patent, copyright or other analogous
                      protection; and
                              (3) to cooperate with the Company (but at the Company's expense)
                      in any enforcement or infringement proceedings on such letters patent,
                      copyright or other analogous protection.

            (g)    Authorization to Company. In the event the Company is unable, after
    reasonable effort, to secure my signature on any patent, copyright or other analogous
    protection relating to a Subject Idea and Invention, whether because of my physical or
    mental incapacity or for any other reason whatsoever, I hereby irrevocably designate and
    appoint the Company and its duly authorized officers and agents as my agent and
    attorney-in-fact, to act for and on my behalf and stead to execute and file any such
    application, applications or other documents and to do all other lawfully permitted acts to
    further the prosecution, issuance, and enforcement of letters patent, copyrights or other
    analogous rights or protections thereon with the same legal force and effect as if executed
    by me. My obligation to assist the Company in obtaining and enforcing patents and
    copyrights for Subject Ideas and Inventions in any and all countries shall continue
    beyond the termination of my relationship with the Company, but the Company shall
    compensate me at a reasonable rate after such termination for time actually spent by me
    at the Company's request on such assistance.

            (h)     No use of Name. 1 shall not at any time use the Company's name or any
    of the Company trademark(s) or trade name(s) in any advertising or publicity without the
    prior written consent of the Company.

    4.       Obligation to Keep Company Informed.

                   During the first one (1) year after termination of my employment with the
    Company, I will provide the Company with a complete copy of each patent application
    filed by me or that names me as an inventor or co-inventor.

    5.       Prior Inventions.

                      Inventions, if any, patented or unpatented, that I made prior to the



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     commencement of my employment with the Company are excluded from the scope of the
     Agreement. To preclude any possible uncertainty, I have set forth on Exhibit A attached
     hereto a complete list of all Inventions that I have, alone or jointly with others, conceived,
     developed or reduced to practice or caused to be conceived, developed, or reduced to
     practice prior to commencement of my employment with the Company, that I consider to
     be my property or the property of third parties and that I wish to have excluded from the
     scope of this Agreement. If disclosure of any such Invention on Exhibit A would cause
     me to violate any prior confidentiality agreement, I understand that I am not to list such
     Inventions in Exhibit A but am to inform the Company that all Inventions have not been
     listed for that reason.

     6.       Other Activities; Non-Competition; Non-Solicitation.

            (a)     In consideration of the premises hereof and in further consideration of the
    Company's promise to disclose to me confidential and Confidential Information and trade
    secrets of the Company and the Company's promise to provide me with immediate
    specialized training, and the experience I will gain throughout my employment with the
    Company, and for other good and valuable consideration, the receipt and sufficiency of
    which is hereby acknowledged, I hereby agree that during the term of my employment, I
    will not, directly or indirectly, (a) compete in the state of Texas, or any other state of the
    United States where the Company is then conducting business or (b) participate in the
    ownership, management, operation, financing, or control of, or be employed by or
    consult for or otherwise render services to, any person, corporation, firm, or other entity
    that competes in the state of Texas, or in any other State of the United States where the
    Company is then conducting business, in the similar business as conducted and as
    proposed to be conducted by the Company. Notwithstanding the foregoing, I am
    permitted to own up to 5% of any class of securities of any corporation that is traded on a
    national securities exchange or through NASDAQ.

            (b)    During the term of my employment and for a period of one (1) year after
    my employment with Company, I will not directly or indirectly, individually or on behalf
    of any other person, firm, partnership, corporation, or business entity of any type, solicit,
    assist or in any way encourage any current employee or consultant of the Company or
    any subsidiary of the Company to terminate his or her employment relationship or
    consulting relationship with the Company or subsidiary.

    7.       No Improper Use of Materials.

                    I understand that I shall not use the proprietary of confidential information
    or trade secrets of any former employer or any other person or entity in connection with
    my employment with the Company. During my employment by the Company, I will not
    improperly use or disclose any proprietary or confidential information or trade secrets, if
    any, of any former employer or any other person or entity to whom I have an obligation
    of confidentiality, and I will not bring onto the premises of the Company any propriety
    and confidential information, Intellectual Property, trade secrets, unpublished documents
    or any property belonging to any former employer or any person or entity to whom I have



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    an obligation of confidentiality unless consented to in writing by that former employer,
    person, or entity.

    8.      No Conflicting Obligation.

                   I represent that my performance of all the terms of this Agreement and as
    an employee of the Company does not and will not breach any agreement between me
    and any other employer, person or entity. I have not entered into, and I agree I will not
    enter into, any agreement either written or oral in conflict herewith. I hereby warrant
    that no employment agreement or other obligations or pending disputes exist with my
    former or other employers.

    9.       Return of Company Documents.

                   When I leave the employ of the Company, I will deliver to the Company
    all drawings, notes, memoranda, specifications, devices, formulas, and documents,
    together with all copies thereof, and any other material containing or disclosing any
    Company Inventions, Third Party Information, or Confidential Information of the
    Company. I further agree that any property situated on the Company's premises and
    owned by the Company, including disks and other storage media, filing cabinets or other
    work areas, is subject to inspection by Company personnel at any time with or without
    notice.

    10.      Legal and Equitable Remedies.

                   Because my services are personal and unique and because I will have
    access to and become acquainted with the Confidential Information of the Company, the
    Company shall have the right to enforce this Agreement and any of its provisions by
    injunction, specific performance, or other equitable relief, without bond and without
    prejudice to any other rights and remedies that the Company may have for a breach of
    this Agreement.

    11.      Notices.

                    Any notice required or permitted hereunder shall be given to the
    appropriate party at the party's last known address. Such notice shall be deemed given
    upon personal delivery to the last known address or if sent by certified or registered mail,
    three days after the date of mailing.

    12.      General Provisions.

           (a)     Governing Law. This Agreement will be governed by and construed
    according to the laws of the State of Texas without regard to conflicts of law principles.

           (b)     Exclusive Forum. I hereby irrevocably agree that the exclusive forum
    for any suit, action, or other proceeding arising out of or in any way related to this



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    Agreement shall be in the state or federal courts in Texas, and I agree to the exclusive
    personal jurisdiction and venue of any court on Collin County Texas.

            (c)    Entire Agreement. This Agreement sets forth the entire agreement and
    understanding between the Company and myself relating to the subject matter hereof and
    supersedes and merges all prior discussions between us. No modification of or
    amendment to this Agreement, nor any waiver of any rights under this Agreement, will be
    effective unless in writing signed by the party to be charged. Any subsequent change or
    changes in my duties, salary or compensation will not affect the validity or scope of this
    Agreement. As used in this Agreement, the period of my employment includes any time
    during which I may be retained by the Company as a consultant.

              (d)      Severability.

            (i) I acknowledge and agree that each agreement and covenant set forth herein
    constitutes a separate agreement independently supported by good and adequate
    consideration and that each such agreement shall be severable from the other provisions
    of this Agreement and shall survive this Agreement.

              (ii) I understand and agree that Section 6 of this Agreement is to be enforced to
    the fullest extent permitted by law. Accordingly, if a court of competent jurisdiction
    determines that the scope and/or operation of Section 6 is too broad to be enforced as
    written, the Company and I intend that the court should reform such provision to such
    narrower scope and/or operation as it determines to be enforceable, provided, however,
    that such reformation applies only with respect to the operation of such provision in the
    particular jurisdiction with respect to which such determination was made. If, however,
    Section 6 is held to be illegal, invalid, or unenforceable under present or future law, and
    not subject to reformation, then (1) such provision shall be fully severable, (2) this
    Agreement shall be construed and enforced as if such provision was never a part of this
    Agreement, and (3) the remaining provisions of this Agreement shall remain in full force
    and effect and shall not be affected by the illegal, invalid, or unenforceable provision or
    by its severance.

           (e)    Successors and Assigns. This Agreement will be binding upon my heirs,
    executors, administrators, and other legal representatives and will be for the benefit of the
    Company, its successors and assigns.

                   Survival. Applicable provisions of this Agreement shall survive the
    termination of my employment for any reason and the assignment of this Agreement by
    the Company to any successor in interest or other assignee.

            (g)    Employment. I agree and understand that my employment with the
    Company is at will, which means that either I or the Company may terminate the
    employment relationship at any time with or without prior notice and with or without
    cause. I further agree and understand that nothing in this Agreement shall confer any
    right with respect to continuation of employment by the Company, nor shall it interfere in



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    any way with my right or the Company's right to terminate my employment at any time,
    with or without cause. When I choose to terminate this employment relationship, or if I
    am terminated for cause, in both instances, I will be obligated to repay any signing bonus
    according to the terms included in the offer letter that I have signed. I also agree to
    return all company property in my possession, including cash advances, computers, or
    other equipment belonging to the company. If I fail to return any signing bonus or
    company property on or before my termination date, I agree to have the total value of all
    unreturned property deducted from my final paycheck.

            (h)    Waiver. No waiver by the Company of any breach of this Agreement
    shall be a waiver of any preceding or succeeding breach. No waiver by the Company of
    any right under this Agreement shall be construed as a waiver of any other right. The
    Company shall not be required to give notice to enforce strict adherence to all terms of
    this Agreement.

            (i)     Recovery of Attorney's Fees. In the event of any litigation arising from
    or relating to this Agreement, the prevailing party in such litigation proceedings shall be
    entitled to recover, from the non-prevailing party, the prevailing party's cost and
    reasonable attorney's fees, in addition to all other legal or equitable remedies to which it
    may otherwise be entitled.

            (j)     Headings. The headings to each section or paragraph of this Agreement
    are provided for convenience of reference only and shall have no legal effect in the
    interpretation of the terms hereof.

                                                                   EMPLOYER:


                             BY:


                             Name:


                             Title:


                                                                   EMPLOYEE:




                                                       )7,q•-6 I            MUA/tro-,
                                                                        Print Name



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                                                     EXHIBIT A

     Ladies and Gentlemen:

          The following is a complete list of all yjventions or improvements levant to the
     subject matter of my employment by                        •                (previous
     employer) that have been made or conceived or first reduced tb practice  me alone or
     jointly with others prior to my employment by the Company that I desire to remove
     from the operation of the Company's Employment, Confidentiality, Proprietary
     Information and Inventions Agreement.



                     I have no inventions or improvements to disclose.



                        I have inventions or improvements which I have disclosed on the
                        attached Invention Disclosure form(s).


                        Due to certain confidentiality obligations, I cannot disclose certain
                        inventions that otherwise would be listed.




                            Signature:



                                                   Date: /7/9 abY/ , 201 /




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                                                INVENTION DISCLOSURE


           Invention Disclosure #




            Inventors:        1.                ?ft



                              2.



                              3.




            Title of Invention:                                974- "Al-egt.1 owl' App
                                                               (
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            Problem solved by invention:
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            Invention Description:             drzt                /eem ei‘,-e4o-e(
                                                          ei
            Add additional signed, dated sheets and drawings if necessary.



            Has this invention been disclosed outside of the Company? Y s                                No   g.
                              evre.                                 Argi,4-6                         A.71 cisea                 iet,D-rie/
            Inventor Signature:                                                                      Date:    0           ///




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